                                          EXHIBIT A
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 1 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 2 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 3 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 4 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 5 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 6 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 7 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 8 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 9 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 10 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 11 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 12 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 13 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 14 of 15
Case 5:21-cv-00029-TES Document 1-2 Filed 01/18/21 Page 15 of 15
